                United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois 60604

                                      June 30, 2025

                                         Before

                         DIANE S. SYKES, Chief Judge

                         FRANK H. EASTERBROOK, Circuit Judge

                         THOMAS L. KIRSCH II, Circuit Judge



No. 23-2568

 D.P., a minor, by her mother and next        Appeal from the United States District
 friend, A.B. 1                               Court for the Eastern District of
            Plaintiff-Appellee,               Wisconsin.

          v.                                  No. 2:23-cv-00876

 MUKWONAGO AREA SCHOOL                        Lynn Adelman,
 DISTRICT and JOSEPH KOCH,                       Judge.
           Defendants-Appellants.



                                       ORDER

       Based on the Supreme Court’s recent decision in United States v. Skrmetti,
No. 23-477, 2025 WL 1698785 (June 18, 2025), we sua sponte vacate our opinion dated
June 12, 2025, and grant panel rehearing to consider whether the court should overrule


      1 The parties referred to the plaintiff and her mother as Jane Doe #1 and #2. In
accordance with Rule 5.2(a)(3) of the Federal Rules of Civil Procedure, we refer to the
minor plaintiff by her initials and do the same for her mother, who brings this suit on
her behalf.
No. 23-2568                                                                            Page 2

Whitaker v. Kenosha Unified School District No. 1 Board of Education, 858 F.3d 1034 (7th Cir.
2017), and A.C. v. Metropolitan School District of Martinsville, 75 F.4th 760 (7th Cir. 2023),
in light of Skrmetti.

        The parties shall file supplemental briefs on that question. The parties are also
invited to address whether, if the court overrules Whitaker and Martinsville, the
challenged policy is valid under (1) the Equal Protection Clause in light of Skrmetti; and
(2) Title IX in light of 20 U.S.C. § 1686, 34 C.F.R. § 106.33, and Skrmetti.

       Appellants Mukwonago Area School District and Joseph Koch shall file a
supplemental brief addressing these questions on or before July 31, 2025. Appellee D.P.,
by her mother and next friend, A.B., shall file a supplemental brief addressing these
questions on or before September 2, 2025. The briefs shall be in the form specified for
reply briefs in the Federal Rules of Appellate Procedure and corresponding circuit rules,
except that the cover should be tan. Fed. R. App. P. 32(a)(2).
